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Rey CIVIL COVER SHEET
10/01/2020 The J8-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or

other papers as required by taw, except as provided by local rules of court. This form, appraved by the Judicial Conference of the
United States in September 1974, is required for use of the Clerk of Court for the purpose of initiating the civil docket sheet.

PLAINTIFFS DEFENDANTS
Bilal Smith Metropolitan Transportation Authority
Metropolitan Transporiation Authority Police Department
Police Officer M. Griggs; John and Jane Does-Police Officers as yet

 

ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER ATTORNEYS (IF KNOWN)

Rubenstein & Rynecki, Esqs. Steve §. Efron

16 Court Street, Suite 1717 237 West 35th Street - Suite 1502

Brooklyn New York 11241 wa New York, New York 100074 (212) 867-1067
(TARY 994090

CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE)
{DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY}

42 U.S.C. Sec. 1983 Deprivation of Civil Rights

Judge Previously Assigned
Has this action, case, or proceeding, or one essentially the same been previously filed in SDNY at any time? No [Yes oO

\fyes, was this case Vol.[—] Invol. [[] Dismissed. No[-] Yes [_]_ Ifyes, give date & Case No. _
[s THIS AN INTERNATIONAL ARBITRATION CASE? No Yes ([]
(PLACE AN [x] IN ONE BOX ONLY) NATURE OF SUIT
TORTS ACTIONS UNDER STATUTES
CONTRACT PERSONAL INJURY PERSONAL INJURY. FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
Ce ae ARE 375 FALSE CLAIMS
{110 INSURANCE [ ]340 AIRPLANE PHARMACEUTICAL PERSONAL | ) 625 DRUG RELATED [ }422 APPEAL nM
1} 120 MARINE []315 AIRPLANE PRODUCT) INJURY/PRODUCT LIABILITY“ ceiaure oF PROPERTY 28 USC 158 { 1376 QUI TAM
{} 130 MILLER ACT LIABILITY [ ] 365 PERSONAL INJURY 21 USC 881 [ ]423 WITHDRAWAL [ ] 400 STATE
{}140 NEGOTIABLE [ ]320 ASSAULT, LIBEL & PRODUCT LABILITY | 1 g99 OTHER 28 USC 157 REAPPORTIONMENT
INSTRUMENT SLANDER [ ]368 ASBESTOS PERSONAL [ ] 410 ANTITRUST
[ } 150 RECOVERY OF —[ ] 320 FEDERAL INJURY PRODUCT { ]430 BANKS & BANKING
OVERPAYMENT & EMPLOYERS’ LIABILITY PROPERTY RIGHTS [ ]450 COMMERCE
ENFORCEMENT LIABILITY { ] 460 DEPORTATION
OF JUDGMENT —_{ } 340 MARINE PERSONAL PROPERTY [ ] 820 COPYRIGHTS [ ] 880 DEFEND TRADE SECRETS ACT [ ] 470 RACKETEER INFLU-
{1154 MEDICARE ACT —[ } 345 MARINE PRODUCT [ ] 830 PATENT ENCED & CORRUPT
[ } 152 RECOVERY OF LIABILITY [ ]370 OTHER FRAUD . ORGANIZATION ACT
DEFAULTED [ ] 350 MOTOR VEHICLE [1371 TRUTHIN LENDING —_—iE_ 1835 PATENT-ABBREVIATED NEW DRUG APPLICATION (RICO)
STUDENT LOANS § [ }355 MOTOR VEHICLE [ ] 840 TRADEMARK [ }480 CONSUMER CREDIT
(EXCL VETERANS) PRODUCT LIABILITY SOCIAL SECURITY
[]}153 RECOVERY OF [| ]360 OTHER PERSONAL (1485 Toreohonecr ee
OVERPAYMENT INJURY { ]380 OTHER PERSONAL LABOR { ] 861 HIA (1395¢f)
OF VETERAN'S [ } 862 PERSONAL INJURY - PROPERTY DAMAGE { ] 862 BLACK LUNG (923)
BENEFITS MED MALPRACTICE {| 1385 PROPERTY DAMAGE = [ ] 710 FAIR LABOR { ] 863 DIWC/DIWW (405(g)) []490 CABLE/SATELLITE TV
[ ] 160 STOCKHOLDERS PRODUCT LIABILITY STANDARDS ACT { ]864 SSID TITLE KV { ] 850 SECURITIES!
SUITS { ] 720 LABOR/MGMT { ] 865 RSI (406(q)) COMMODITIES/
i] 190 OTHER PRISONER PETITIONS LATIONS EXCHANGE
CONTRACT [ } 463 ALIEN DETAINEE [ ] 740 RAILWAY LABOR ACT
{ ) 198 CONTRACT [ ]510 MOTIONS TO [] 781 FAMILY MEDICAL FEDERAL TAX SUITS { }ese OTTER SA ATUTORY
PRODUCT ACTIONS UNDER STATUTES VACATE SENTENCE Leave ACT (FMLA)
LIABILITY 28 USC 2255 [ ]870 TAXES (U.S. Plaintiffor [1891 AGRICULTURAL ACTS
{ ]196 FRANCHISE CIVIL RIGHTS [ ]630 HABEAS CORPUS { ] 790 OTHER LABOR Defendant) [ ] 893 ENVIRONMENTAL
{ ] 635 DEATH PENALTY LITIGATION [ ] 871 IRS-THIRD PARTY MATTERS
[ ]540 MANDAMUS & OTHER [ ] 791 EMPL RET ING 26 USC 7609 [ ] 895 FREEDOM OF
bd Ato Pico SECURITY ACT (ERISA) INFORMATION ACT
REAL PROPERTY £1441 VorING IMMIGRATION [ ] 896 ARBITRATION
[ ]210 LAND | 1442 EMPLOYMENT PRISONER CIVIL RIGHTS t ee NUNS Ae RVEW oR
CONDEMNATION { } 443 HOUSING/ [ ] 462 NATURALIZATION APPEAL OF AGENCY DECISION
{ }220 FORECLOSURE AGCOMMODATIONS § | 1450 CIVIL RIGHTS APPLICATION
{ }230 RENT LEASE & [ } 445 AMERICANS WITH { ]555 PRISON CONDITION —[_ ] 488 OTHER IMMIGRATION { 1950 CONSTITUTIONALITY OF
EVECTMENT DISABILITIES - [ ] 860 CIVIL DETAINEE ACTIONS STATE STATUTES
[ } 240 TORTS TO LAND EMPLOYMENT CONDITIONS OF CONFINEMENT
[) 245 TORT PRODUCT  [ ]446 AMERICANS WITH
LIABILITY DISABILITIES -OTHER
[ ] 290 ALL OTHER [ ]448 EDUCATION
REAL PROPERTY
Check if demanded in complaint:
DO YOU CLAIM THIS CASE IS RELATED TO A CIVIL CASE NOW PENDING IN S.D.N.Y.
CHECK IF THIS IS ACLASS ACTION AS DEFINED BY LOCAL RULE FOR DIVISION OF BUSINESS 13?
UNDER F.R.C.P. 23 IF SO, STATE:
DEMAND $. OTHER JUDGE DOCKET NUMBER.

 

Check YES only if demanded in complaint
JURY DEMAND: Cl yes ENO NOTE: You must also submit at the time of filing the Statement of Relatedness form (Form |H-32).
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(PLACE AN x IN ONE BOX ONLY) ORIGIN
[1 4 originat 9 Removed from [] 3 Remanded f] 4 Reinstated or | 5 Transferred from [6 litigation Cy7 sg . Woe istrict
Proceeding State Court from Reopened (Specify District) (Transferred) Magistrate Judge

Appellate
CI] @. allparties represented = Court

ry 8 Multidistrict Litigation (Direct File)
Cc] b, At least one party

is pro se.
(PLACE AN x IN ONE BOX ONLY) BASIS OF JURISDICTION iF DIVERSITY, INDICATE
[] 1 U.S. PLAINTIFF [5] 2 U.S. DEFENDANT 3 FEDERAL QUESTION (-]4 DIVERSITY CITIZENSHIP BELOW.

(U.S. NOT A PARTY)

CITIZENSHIP OF PRINCIPAL PARTIES (FOR DIVERSITY CASES ONLY)

(Place an [X] in one box for Plaintiff and one box for Defendant)

PTF DEF PTF DEF PTF DEF

CITIZEN OF THIS STATE {Ji [41 CITIZEN OR SUBJECT OF A []3 f]3 INCORPORATED and PRINCIPAL PLACE []5 []5
FOREIGN COUNTRY OF BUSINESS IN ANOTHER STATE

CITIZEN OF ANOTHER STATE []2 []2 INCORPORATED or PRINCIPAL PLACE []4[ ]4 FOREIGN NATION [16 []6

OF BUSINESS IN THIS STATE

PLAINTIFF(S) ADDRESS(ES) AND COUNTY(IES)
Bilal Smith - Bronx County NY

DEFENDANT(S) ADDRESS(ES) AND COUNTY(IES)
Metropolitan Transportation Authority - 2 Broadway, New York NY
Metropolitan Transportation Authority Police Department - 420 Lexington Ave. NY NY

DEFENDANT(S) ADDRESS UNKNOWN

REPRESENTATION IS HEREBY MADE THAT, AT THIS TIME, | HAVE BEEN UNABLE, WITH REASONABLE DILIGENCE, TO ASCERTAIN
THE RESIDENCE ADDRESSES OF THE FOLLOWING DEFENDANTS:

Police Officer M. Griggs
John and Jane Does-Police Officers as yet unidentified

COURTHOUSE ASSIGNMENT
| hereby certify that this case should be assigned to the courthouse indicated below pursuant to Local Rule for Division of Business 78, 20 or 21.

Check one: THIS ACTION SHOULD BE ASSIGNED TO: [_] WHITE PLAINS MANHATTAN

Steve S. Efron

DATE 6/16/2022 ADMITTED TO PRACTICE IN THIS DISTRICT
SIGNATURE OF ATTORNEY OF RECORD [] NO
i] YES (DATE ADMITTED MoJanuary yr, 1980)
RECEIPT # Attorney Bar Code #SE1234

Magistrate Judge is to be designated by the Clerk of the Court.
Magistrate Judge is so Designated.

Ruby J. Krajick, Clerk of Court by Deputy Clerk, DATED

UNITED STATES DISTRICT COURT (NEW YORK SOUTHERN)
